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                                 BEFORE THE UNITED STATES
                        JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                     MDL No.
           IN RE:
      BABY FOOD MARKETING, SALES
      PRACTICES AND PRODUCTION
      LIABILITY LITIGATION

                                     SCHEDULE OF ACTIONS



                                                                                    Civil
                                                 Movant(s), if
             Plaintiff(s)       Defendant(s)                        District       Action         Judge
                                                  applicable
                                                                                    No.
                                Gerber                                                       Judge James V.
                                                                                  2:21-cv-
  Charles Robbins and all       Products                         Central District            Selna and
1                                                                                 01457-
  others similarly situated     Company and                      of California               Magistrate Judge
                                                                                  JVS-PD
                                Nurture, Inc.                                                Patricia Donahue
                                The Hain                                         1:21-cv-    Magistrate Judge
    Kendra Anderson and all                                      District of
2                               Celestial                                        00500-      N. Reid
    others similarly situated                                    Colorado
                                Group                                            NRN         Neureiter
                                Beech-Nut
                                Nutrition
                                Company,
                                Campbell Soup
  Jenna Johnson, Abbey          Company,
  Johnston, Riley Bucci,        Gerber
  Kelsey Gross, Stevie          Products
  McCartin, Elaine Lake,        Company,
  Courtney Nemmers, Jessica     Hain Celestial
  Scott, Tracy Tankard,         Group,                                                       District Judge
  Mallory VanDyke, and all      Nurture, Inc.,                                               Eric F. Melgren
  consumers who purchased       North Castle                                     2:21-cv-    and Magistrate
  baby foods manufactured by    Partners, and                    District of     02096-      Judge James P.
3 Defendants                    Walmart, Inc.                    Kansas          EFM-JPO     O'Hara

                                                                                             Judge Noel L.
                                                                                 1:21-cv-    Hillman and
                                Campbell Soup                                    02417-      Magistrate Judge
  Erin Smid and all others      Company and                      District of     NLH-        Karen M.
4 similarly situated            Plum, PBC                        New Jersey      KMW         Williams
  Melanie Shepard, Ciara                                                                     Judge Claire C.
                                Gerber                                           2:21-cv-
  Vargas, Tisha Valdez,                                          District of                 Cecchi and Chief
5                               Products                                         01977-
  Gwyndaline Quarles, and all                                    New Jersey                  Mag. Judge
                                Company                                          CCC-MF
  others similarly situated                                                                  Mark Falk
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                                                                                              Judge Claire C.
                                  Gerber                                           2:21-cv-
   Jessica Moore and all others                                      District of              Cecchi and Chief
 6                                Products                                         02516-
   similarly situated                                                New Jersey               Mag. Judge
                                  Company                                          CCC-MF
                                                                                              Mark Falk

                                  Gerber
                                  Products
                                  Company,
                                  Beech-Nut
                                  Nutrition                          District of
   Michele Wallace, Ahkilah       Company,                           New Jersey
   Johnson, Vanessa Gallucci,     Nurture, Inc.,                                              Judge Claire C.
   Sarah Wardale, Sarah Brown,    and The Hain                                     2:21-cv-   Cecchi and Chief
   Jennifer Gaetan, and all       Celestial                                        02531-     Mag. Judge
 7 others similarly situated      Group, Inc.                                      CCC-MF     Mark Falk

   Jeremy Cantor,
   Ashley Allen, Dominick
   Grossi, Anthony Harrison,                                                       2:21-cv-   Judge Claire C.
   Heather Hyden, Lisa            Gerber                                           03402-     Cecchi and
   Losiewicz, Haley Sams, and     Products                           District of   CCC-       Magistrate Judge
 8 Vito Scarola                   Company                            New Jersey    ESK        Edward S. Kiel
                                  Beech-Nut
                                  Nutrition
                                  Company,
                                  Hain Celestial   Nicole Stewart,
                                                                                              Judge Diane
   Michelle Walls, N. W. a        Group, Inc.,     Elizabeth         Eastern       1:21-cv-
                                                                                              Gujarati and
 9 minor child, and all others    Nurture, Inc.,   Agramonte,        District of   00870-
                                                                                              Magistrate Judge
   similarly situated             Gerber           and Summer        New York      DG-SJB
                                                                                              Sanket J. Bulsara
                                  Products Co.,    Apicella
                                  and Plum
                                  Public Benefit
                                  Corp.

   Nicole Stewart,                                                                            Judge Joanna
   Elizabeth Agramonte,                                              Eastern       2:21-cv-   Seybert and
   Summer Apicella, and all       Hain Celestial                     District of   00678-     Magistrate Judge
10 others similarly situated      Group, Inc.                        New York      JS-AYS     Anne Y. Shields
                                                   Nicole Stewart,
   Sally Bredberg, Rebecca        The Hain         Elizabeth         Eastern       2:21-cv-
                                                                                              Judge Joanna
11 Bromberg, and all others       Celestial        Agramonte,        District of   00758-
                                                                                              Seybert
   similarly situated             Group, Inc.      and Summer        New York      JS-SIL
                                                   Apicella

                                                   Nicole Stewart,
                                                                                              Judge Sandra J.
                                                   Elizabeth         Eastern       2:21-cv-
     Alyssa Mays and all others   Hain Celestial                                              Feuerstein and
                                                   Agramonte,        District of   00805-
     similarly situated           Group, Inc.                                                 Magistrate Judge
                                                   and Summer        New York      SJF-SIL
                                                                                              Steven I. Locke
                                                   Apicella
12
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                                                                                                 Judge Joanna
                                                      Nicole Stewart,                            Seybert
                                                      Elizabeth                                  and Magistrate
                                                      Agramonte,        Eastern       2:21-cv-   Judge A.
   Lee Boyd and all others           Hain Celestial   and Summer        District of   00884-     Kathleen
13 similarly situated                Group, Inc.      Apicella          New York      JS-AKT     Tomlinson

                                                      Nicole Stewart,                            Judge Joan M.
   Kelly McKeon, Renee Bryan,                                           Eastern       2:21-cv-
                                     Hain Celestial   Elizabeth                                  Azrack and
14 Marilyn Cason, and all others                                        District of   00938-
                                     Group            Agramonte,                                 Magistrate Judge
   similarly situated                                                   New York      JMA-SIL
                                                      and Summer                                 Steven I. Locke
                                                      Apicella

                                                      Nicole Stewart,
                                                      Elizabeth                                  Judge Joan M.
                                     The Hain         Agramonte,        Eastern       2:21-cv-   Azrack and
   Leiba Baumgarten and all          Celestial        and Summer        District of   00944-     Magistrate Judge
15 others similarly situated         Group, Inc.      Apicella          New York      JMA-ST     Steven Tiscione
                                                                                                 Judge Sandra J.
                                                      Nicole Stewart,
                                                                        Eastern       2:21-cv-   Feuerstein and
                                     Hain Celestial   Elizabeth
16 Charlotte Willoughby                                                 District of   00970-     Magistrate Judge
                                     Group            Agramonte,
                                                                        New York      SJF-ARL    Arlene R.
                                                      and Summer
                                                                                                 Lindsay
                                                      Apicella
                                                                                                 Judge Gary R.
                                                                                      2:21-cv-
                                     The Hain                           Eastern                  Brown and
     Lumarie Lopez-Sanchez and                                                        01045-
17                                   Celestial                          District of              Magistrate Judge
     all others similarly situated                                                    GRB-
                                     Group, Inc.                        New York                 A. Kathleen
                                                                                      AKT
                                                                                                 Tomlinson

                                                      Nicole Stewart,                            Judge Gary R.
                                                                        Eastern
                                                      Elizabeth                                  Brown
                                                                        District of
                                                      Agramonte,                      2:21-cv-   and Magistrate
                                                                        New York
   Shanely Zorrilla and all          Hain Celestial   and Summer                      01062-     Judge Steven
18 others similarly situated         Group, Inc.      Apicella                        GRB-ST     Tiscione

                                                      Nicole Stewart,                            Judge Joanna
                                                      Elizabeth                                  Seybert
                                                      Agramonte,        Eastern       2:21-cv-   and Magistrate
   Lynda Galloway and all            Hain Celestial   and Summer        District of   01067-     Judge Anne Y.
19 others similarly situated         Group, Inc.      Apicella          New York      JS-AYS     Shields

   Emily Baccari, Dominick                            Nicole Stewart,                            Judge Joanna
   Grossi, Heather Hyden,                             Elizabeth                                  Seybert
   Haley Sams, Vito Scarola                           Agramonte,        Eastern       2:21-cv-   and Magistrate
   and all others similarly          Hain Celestial   and Summer        District of   01076-     Judge Anne Y.
20 situated                          Group, Inc.      Apicella          New York      JS-AYS     Shields
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                                    Hain Celestial
                                    Group, Inc.,
                                    Beech-Nut
                                    Nutrition
                                    Company,         Nicole Stewart,                                Judge Joan M.
   Lori-Anne Albano, Myjorie        Gerber           Elizabeth                           2:21-cv-   Azrack and
   Philippe, Rebecca Telaro,        Products         Agramonte,        Eastern           01118-     Magistrate Judge
   Alyssa Rose, and all others      Company, and     and Summer        District of       JMA-       A. Kathleen
21 similarly situated               Nurture, Inc.    Apicella          New York          AKT        Tomlinson
                                                                                                     District Judge
                                                                                                    Liam O'Grady
                                                                                                    and Magistrate
                                    Gerber                             Eastern           1:21-cv-   Judge Theresa
                                    Products                           District of       00269-     Carroll
22 Kathleen Keeter                  Company                            Virginia          LO-TCB     Buchanan

                                    Gerber                             Eastern           1:21-cv-
                                    Products                           District of       00277-
23 Jamie Moore                      Company                            Virginia          LO-TCB     Unassigned
                                                                                         6:21-cv-   Judge Wendy W.
     Crista Marie Hazely, Kathryn
                                    Gerber                             Middle District   00317-     Berger and
     McCarthy, and all others
                                    Products Co.                       of Florida        WWB-       Magistrate Judge
     similarly situated
24                                                                                       DCI        Daniel C. Irick

                                                                       Northern          4:21-cv-
   Ludmila Gulkarov and all                                            District of       00913-     Judge Yvonne
25 others similarly situated        Plum, PBC                          California        YGR        Gonzalez Rogers
   Kelly McKeon, Josh                                                  Northern          4:21-cv-
   Crawford, and all others         Plum, PBC and                      District of       01113-     Judge Yvonne
26 similarly situated               Plum, Inc.                         California        YGR        Gonzalez Rogers
   Aileen Garces, Shalaya
   Martin, Kira Spurgeon,
   Laszlo Kovacs, Queen
   Pough, Stacy Musto, Carrie
   Ashbourne, Jessica Reed,
   April Gillens, Janice Wilson,
   Gladys Okolo, Christina
   Martinson, Ashlee Campion,
   Chris Nalley, Jennifer Weiss,    Gerber
   Cortney Powell, Soraya           Products Co.,
   Santos, Michael Morrow,          The Hain
                                                                       Northern
   Ashley Morgan, Edelin            Celestial                                            1:21-cv-   Judge John
                                                                       District of
   Altuve, Amy Prondzinski,         Group, Inc.,                                         00719      Robert Blakey
                                                                       Illinois
   Michelle Lyles, Julia Vice,      Nurture, Inc.,
   Chey'na Micciche, Cori Lau,      and Beech-Nut
   Melissa Mejia, Amber             Nutrition Co.
   Hogan, Jessica Conner, Jenny
   Anderson, Elizabeth Hall,
   Damen Walton, Jandrea
   Glenn, Savanna Jarrell, Julia
   Milton, Lindsey Tarlton,
   Diego Galeana, Brandy
   Daniels, Lidia Tilahun, and
27 all others similarly situated
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                                     The Hain            Northern
     Marla Micks and all others                                        1:21-cv-   Judge Charles P.
                                     Celestial           District of
     similarly situated                                                00835      Kocoras
28                                   Group, Inc.         Illinois


   Laurie Thomas, Alison
   Kavulak,
   Jen MacLeod, Mary Narvaez,                                                     Senior Judge
   Alison Fleissner, Emily                                                        Thomas J.
   Bigaouette, Laura Eggnatz,                                          1:21-cv-   McAvoy and
   Teresa Hagmaier, Nicole           Beech-Nut           Northern      00133-     Magistrate Judge
   Fallon, and all others            Nutrition           District of   TJM-       Christian F.
29 similarly situated                Company             New York      CFH        Hummel
                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
                                     Beech-Nut           Northern
   Laura Peek and all others                                           00167-     McAvoy and
30                                   Nutrition           District of
   similarly situated                                                  TJM-       Magistrate Judge
                                     Company             New York
                                                                       CFH        Christian F.
                                                                                  Hummel
                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
   Robyn Moore, Gabrielle            Beech-Nut           Northern
                                                                       00183-     McAvoy and
31 Stuve, and all others similarly   Nutrition           District of
                                                                       TJM-       Magistrate Judge
   situated                          Company             New York
                                                                       CFH        Christian F.
                                                                                  Hummel

                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
                                                         Northern
     Mattia Doyle and all others     Beech-Nut                         00186-     McAvoy and
32                                                       District of
     similarly situated              Nutrition Co.                     TJM-       Magistrate Judge
                                                         New York
                                                                       CFH        Christian F.
                                                                                  Hummel

                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
                                     Beech-Nut           Northern
   Lee Boyd and all others                                             00200-     McAvoy and
33                                   Nutrition           District of
   similarly situated                                                  TJM-       Magistrate Judge
                                     Company             New York
                                                                       CFH        Christian F.
                                                                                  Hummel

   Jeremy Cantor, Ashley Allen,                                                   Senior Judge
   Dominick Grossi, Anthony                                            1:21-cv-   Thomas J.
                                     Beech-Nut           Northern
   Harrison, Heather Hyden,                                            00213-     McAvoy and
34                                   Nutrition           District of
   Haley Sams, Vito Scarola                                            TJM-       Magistrate Judge
                                     Company             New York
   and all others similarly                                            CFH        Christian F.
   situated                                                                       Hummel

                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
                                                         Northern
                                     Beech-Nut                         00227-     McAvoy and
35 Kathey Henry                                          District of
                                     Nutrition Co.                     TJM-       Magistrate Judge
                                                         New York
                                                                       CFH        Christian F.
                                                                                  Hummel
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                                                                                  Senior Judge
                                                                       1:21-cv-   Thomas J.
                                     Beech-Nut           Northern
     Michael Motherway and all                                         00229-     McAvoy and
36                                   Nutrition           District of
     others similarly situated                                         TJM-       Magistrate Judge
                                     Company             New York
                                                                       CFH        Christian F.
                                                                                  Hummel


                                                                                  Senior Judge
                                                                                  Thomas J.
                                                                       1:21-cv-   McAvoy and
                                 Beech-Nut               Northern      00258-     Magistrate Judge
   Kelsey Gancarz and all others Nutrition               District of   TJM-       Christian F.
37 similarly situated            Company                 New York      CFH        Hummel
   Nicole Stewart, Shannon
                                                         Southern      1:21-cv-
   Fitzgerald, Summer Apicella,                                                   Judge Mary Kay
38                               Nurture, Inc.           District of   01217-
   and all others similarly                                                       Vyskocil
                                                         New York      MKV
   situated
                                                         Southern      1:21-cv-
     Stephanie Soto and all others                                                Judge Mary Kay
39                                   Nurture, Inc.       District of   01271-
     similarly situated                                                           Vyskocil
                                                         New York      MKV
                                                         Southern      1:21-cv-
   Nita Jain and all others                                                       Judge Mary Kay
40                                   Nurture, Inc.       District of   01473-
   similarly situated                                                             Vyskocil
                                                         New York      MKV

   Lillian Hampton, Kelly                                Southern      1:21-cv-
   Mckeon, Jen Macleod, and                              District of   01882-     Judge
41 all others similarly situated     Nurture, Inc.       New York      UA         Unassigned
                                                         Southern      7:21-cv-
     Jodi Smith and all others                                                    Judge
42                                   Nurture, Inc.       District of   01534-
     similarly situated                                                           Unassigned
                                                         New York      UA

   Katesha Smith, Miranda            The Hain            Western                   Chief District
   Fogle, and all others similarly   Celestial           District of   4:21-cv-   Judge Beth
43 situated                          Group, Inc.         Missouri      00129-BP   Phillips
